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IN THE UNITED STATES DISTRICT COURT 4
FOR THE WESTERN DISTRlCT OF TENNESSEE L_ ..
EASTERN DIVISION AT JACKSON /;.;f ;/€--; _,,;f,§>

  

 

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LORI STEPHENS ”f(>"g_,»,_,/Q/`
v. No.; 05-cv-01122-JDT-sTA

WAL-MART STOR_ES EAST, L. P.

 

MOTION TO AMEND COMPLAINT

C®M\ES NOW, the Plaintiff, pursuant to Federal Rule of Civil Procedure 15(a), and with

the permission o\t`t~l§ Defendant (see attached written permission), and moves this Honorable
the Plaintiff to amend her complaint to proceed against the proper

 

        
  

Court for an order allowi
an order amending all references of Wal-Mart Stores, Inc. to

Defendant. Plaintiff would requ

Wal-Mart Stores East, L.P.
Respectfully submitted,

 

  

Jackson, TN 3830
731-988-9900

    

S. Thomas Anderson
U.S. Magistrate Judge
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Case 1:05-cv-01122-.]DT-STA Document 4 Filed 06/03/05 Page 2 of 4 Page|D 2

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been mailed via U.S. Mail, postage
prepaid, to Clinton J. Sirnpson, Attorney for Defendant, 165 Madison Avenue, Suite 2000,

Memphis,TN38103,thisthe gale day of gm ,2005.

' DANNY R. ELLIs

Page 2 of 2

Case 1:05-cv-Oll22-.]DT-STA Document 4 Filed 06/03/05 Page 3 of 4 Page|D 3
LAW OFFICES

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DEilny R. Ellis, Esq.

l 2 89 N. Highland Avenue

POSl Ofiice Box 3146

Jaclson, Tennessee 38103-3 146

Aprir 25, 2005

Re: Lori Stephens v. Wal-Mart Stores East, L.P.

Dear Mr. Ellis:

l will be representing Wal-Mart Stores East, L.P. in this matter. We filed a Notice of Removal
andAnswer in this matter on April 25, 2005 and have enclosed copies for your records Please note that
Wal-Mart Stores East, L.P. is the proper entity in this action. Please amend your Cornplaint to reflect
Wa|-Mart Stores East, L.P. as the proper entity as opposed to Wal-Mart Stores, Inc. We will of course

consent to any such amendment

I look forward to working with you on this matter.

If you have any further questions or comments regarding this matter, please do not hesitate to
contact me. l appreciate your cooperation in this matter.

CJS:tmh

Enclosures

M CJS 375359 vi
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ALABAMA - GEORGlA ~ LOUlSlANA '

MISSlSSlPPl '

Very truly yours,

Clint Simpson Z

TENNESSEE ' WASHlNGTON‘D‘C. ' BF.IHNG.CH!NA

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01122 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Danny R. Ellis

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Clinton J. Simpson

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1\/1emphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

